          Case 2:19-cv-05216-PBT Document 5 Filed 12/27/19 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW R. PERRONG              )
 1657 The Fairway #131 Jenkintown, PA 19046
                                )
                                )
                                )
            Plaintiff,          )                             Civil Action
                    vs.         )                                       No. 19-5216
                                )
TRANSTECH MARKETING NETWORK LLC )
                                )
Et. Al.                         )
              Defendants.       )                           Jury Trial Demanded
                                )



                                   NOTICE OF DISMISSAL

       COMES NOW Plaintiff ANDREW R. PERRONG, and hereby voluntarily dismisses this

case, with prejudice, against all Defendants, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules

of Civil Procedure, as no party has filed an answer or a motion for summary judgement. In

accord with Rule 41(a)(1)(B), such a dismissal is being made WITH PREJUDICE, with each

party to bear its own fees and costs.

Dated: December 27, 2019



                                                 __________________/s/___________________
                                                                             Andrew Perrong
                                                                              Plaintiff Pro-Se
                                                                      1657 The Fairway #131
                                                                       Jenkintown, PA 19046
                                                                        Phone: 215-791-6957
                                                                    Facsimile: 888-329-0305
                                                                    andyperrong@gmail.com




                                                1
